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                  EXHIBIT A
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                                                                       Service of Process
                                                                       Transmittal
                                                                       03/07/2019
                                                                       CT Log Number 535055128
TO:     Andrew Bolender
        Lippes Mathias Wexler Friedman LLP
        822 A1A N Ste 100
        Ponte Vedra Beach, FL 32082-3286

RE:     Process Served in Delaware

FOR:    GLOBAL AVIATION SERVICES USA, INC  (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 MN Airlines, LLC, etc., Pltf. vs. Global Aviation Services USA, Inc. and Carmel Borg,
                                 Dfts.
DOCUMENT(S) SERVED:              LETTER, SUMMONS, COMPLAINT
COURT/AGENCY:                    Fourth Judicial District Court, Hennepin County, MN
                                 Case # NONE
NATURE OF ACTION:                Breach of Contract - Global
ON WHOM PROCESS WAS SERVED:      The Corporation Trust Company, Wilmington, DE
DATE AND HOUR OF SERVICE:        By Process Server on 03/07/2019 at 15:30
JURISDICTION SERVED :            Delaware
APPEARANCE OR ANSWER DUE:        WITHIN 20 DAYS
ATTORNEY(S) / SENDER(S):         Eric R. Sherman, Esq.
                                 DORSEY & WHITOEY LLP
                                 50 South Sixth Street, Suite 1500
                                 Minneapolis, MN 55402-1498
                                 612-340-2600
ACTION ITEMS:                    SOP Papers with Transmittal, via  UPS Next Day Air , 1ZX212780116950009

SIGNED:                          The Corporation Trust Company
ADDRESS:                         1209 N Orange St
                                 Wilmington, DE 19801-1120
TELEPHONE:                       302-658-7581




                                                                       Page 1 of  1 / LS
                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts
                                                                       confirm receipt of package only, not contents.
           CASE 0:19-cv-00843-PAM-SER Document 1-1 Filed 03/25/19 Page 28 of 52

C J) "DORSE V”
           always ahead                                                                                          _.T".




                                                                                                             ERIC R. SHERMAN
                                                                                                                  (612) 492-6609
                                                                                                            FAX (612) 340-8856
                                                                                                      sherman.ertc@dorsey.com



          March 6, 2019


          HAND DELIVERED

         Global Aviation Services USA, Inc.
         c/o CT Corporation System Inc.
         1010 Dale Street North
         Saint Paul, MN 55117-5603

         c/o The Corporation Trust Company
         1209 Orange Street
         Wilmington, DE 19801

         Re:       MN Airlines, LLC d/b/a Sun Country Airlines v. Global Aviation Services USA, Inc. et al.


         Dear Registered Agent:

                   Enclosed and served upon you, as registered agent for Global Aviation Services USA,
         Inc., is the Summons and Complaint in the above-titled matter.




         Enclosures

         cc:      Nicholas J. Bullard




Dorsey & Whitney LLP | 50 South Sixth Street I Suite 1500 | Minneapolis, MN | 55402-1498 | T 612.340.2600 | F 612.340.2868 | dorsey.com
 CASE 0:19-cv-00843-PAM-SER Document 1-1 Filed 03/25/19 Page 29 of 52




STATE OF MINNESOTA                                                         DISTRICT COURT

COUNTY OF HENNEPIN                                           FOURTH JUDICIAL DISTRICT
                                                        Case Type: Civil Other/Miscellaneous

                                                                     Court File No. _
MN Airlines, LLC.d/b/a Sun Country Airlines,                                   (Judge

                       Plaintiff,
                                                   SUMMONS TO GLOBAL AVIATION
vs.                                                    SERVICES USA, INC.

Global Aviation Services USA, Inc., and
Carmel Borg,

                       Defendants.


       THIS SUMMONS IS DIRECTED TO: Global Aviation Services USA, Inc.

       1.     YOU ARE BEING SUED. The Plaintiffs Complaint against you is attached to

this Summons. Do not throw these papers away. They are official papers that affect your rights.

       2.     YOU MUST REPLY WITHIN 20 DAYS OR AS OTHERWISE ORDERED

BY THE COURT TO PROTECT YOUR RIGHTS. You must give or mail to the person who

signed this Summons a written response called an Answer within 20 days of the date on which you

received this Summons unless otherwise ordered by the Court. You must serve a copy of your

Answer to Eric R. Sherman, Esq., the person who signed the Summons, located at DORSEY &

WHITOEY LLP, 50 South Sixth Street, Suite 1500, Minneapolis, MN 55402-1498.

       3.     YOU MUST RESPOND TO EACH CLAIM. The Answer is your written

response to the Plaintiffs Complaint. In your Answer, you must state whether you agree or

disagree with each paragraph of the Complaint. If you believe the Plaintiff should not be given

everything asked for in the Complaint, you must say so in your Answer.
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        4.      YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN

RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS.

If you do not Answer within 20 days or as otherwise ordered by the Court, you will lose this case.

You will not get to tell your side of the story, and the Court may decide against you and award the

Plaintiff everything asked for in the Complaint. If you do not want to contest the claims stated in

the Complaint, you do not need to respond. A default judgment can then be entered against you

for the relief requested in the Complaint.

        5.     LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do

not have a lawyer, the Court Administrator may have information about places where you can get

legal assistance. Even if you cannot get legal help, you must still provide a written Answer to

protect your rights or you may lose the case.

       6.      ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be

ordered to participate in an alternative dispute resolution process under Rule 114 of the Minnesota

General Rules of Practice. You must still send your written response to the Complaint even if you

expect to use alternative means of resolving this dispute.

Dated: March 6, 2019                                 DORSEY & WHITNEY


                                                     By
                                                           ,ric             90531430)
                                                         sherman.eric@dorsey.com
                                                         David Y. Trevor (#0152997)
                                                         trevor.david@dorsey.com
                                                         Nicholas J. Bullard (#0397400)
                                                         bullard.nick@dorsey. com                         i
                                                     50 South Sixth Street, Suite 1500
                                                     Minneapolis, MN 55402
                                                     Telephone: (612) 340-2600
                                                     Facsimile: (612) 340-2868

                                                     Attorneys for Plaintiff
                                                                                                      \



                                                 2
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STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF HENNEPIN                                             FOURTH JUDICIAL DISTRICT
                                                          Case Type: Civil Other/Miscellaneous

                                                       Court File No.
MN Airlines, LLC d/b/a Sun Country Airlines,

                        Plaintiff,
                                                                  COMPLAINT
vs.

Global Aviation Services USA, Inc., and                       Jury Trial Demanded
Carmel Borg,

                       Defendants.


       Plaintiff MN Airlines, LLC d/b/a Sun Country Airlines ("Sun Country”), for its Complaint

against Defendants Global Aviation Services USA, Inc. (“Global”) and Carmel Borg, states and         1

alleges as follows:

                                     NATURE OF THE ACTION

        1.     In this action. Sun Country seeks to hold Global and its principal, Carmel Borg, to

account for (a) fraudulently inducing Sun Country to enter into a ground-handling agreement

(“Agreement”); and (b) repeatedly and materially breaching that Agreement

       .2.     Sun Country is a Minnesota-based airline, and its main hub is the Mfinneapolis-

Saint Paul International Airport (“MSP Airport”). An integral part of Sun Country’s operations at

MSP Airport is “ground handling,” which refers to the many .services aircraft require between

landing and takeoff, including handling baggage, checking in. customers, servicing the. aircraft,

pushing if back from the gate, and loading and unloading cargo and mail.

       3.      In 2018, Global and Mr. Borg fraudulently induced Sun Country to select Global

from among many companies competing to become Sun Cquntty’s sole ground handler at MSP
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STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF HENNEPIN                                            FOURTH JUDICIAL DISTRICT
                                                         Case Type: Civil Other/Miscellaneous

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MN Airlines, LLC d/b/a Sun Country Airlines,

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                                                                 COMPLAINT
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Global Aviation Services USA, Inc., and                      Jury Trial Demanded
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 CASE 0:19-cv-00843-PAM-SER Document 1-1 Filed 03/25/19 Page 33 of 52




Airport. Global and Mr. Borg did so by representing that Global had the experience, staff, and

capabilities to perform effectively all the ground-handling functions that Sun Country required. In

reality, however, Global had no such experience, staff, or capabilities, and Mr. Borg knew it. The

falsity of Global and Mr. Borg’s representations was made clear when, as soon as the Agreement

took effect. Global failed to marshal the staff necessary to perform the agreed-upon services and

began breaching the Agreement on a regular basis.

       4.      Global’s chronic understaffing threw a wrench into Sun Country’s operations, at

MSP Airport, triggering a wave of flight delays, lost baggage, and customer complaints. When

Sim Country confronted Mr. Borg, he placed the blame on a supposedly Weak “Minnesota work

ethic,” and he confessed that Global had engaged in “bad faith negotiations” of the Agreement.

       5.      Mr. Borg’s and Global’s fraud and breaches of the Agreement caused major               ;

damage to Sun Country, including: (1) lost profits from disruption to Sun Country’s cargo and

mail business; (2) payments to customers for lost and damaged bags; (3) payments for equipment

Global destroyed or damaged; (4) replacement costs for the work Global should have: done; and

(5) lost profits from harm to Sun Countiy’s reputation and brand.

                                           PARTIES

       6.      Sun Country is a Minnesota limited liability company with its principal executive

office in Eagan, Minnesota. Sun Country provides air transportation services to destinations

throughout the United States, Mexico, Costa Rica, and the Caribbean. Its main and busiest hub is

at Terminal 2 of MSP Airport.

       7.      Global is a Delaware corporation with a registered office in Saint Paul, Minnesota.

Global is engaged in providing ground-handling services to airlines.

       8.      Carmel Borg is and was Global’s CEO at all times material to this action.




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                                  JURISDICTION AND VENUE

        9.      This Court has personal jurisdiction over Defendants pursuant to Minn. Stat

§ 543.19 because Defendants transact business within the State of Minnesota and because their

actions have caused injury to Sun Country within the State.

        10.     Venue in this Court is proper pursuant to Minn,. Stat. § 542.09 because the claims

arose, in part, in Hennepin County, Minnesota.

                                               FACTS

        A.      The Aviation Ground-Handling Industry and Terminology.

        11.     Aviation “ground handling” refers to services that an aircraft needs on the ground

between landing and takeoff. Many airlines contract with a vendor to perform some or all their

ground-handling functions.

        12.    Three broad categories of ground-handling services are relevant to this action:

ramp services, passenger services, and cargo and mail services:

        13.    Ramp Services. These services usually occur on the airport ramp (also known as

the “tarmac” or “apron”), and they include, but are not limited to: guiding aircraft in and out of the

parking position (known as “marshalling”); towing aircraft; offloading and loading baggage;

interior cleaning; draining and servicing lavatories; and de-icing aircraft

        14.    Passenger Services. These services occur inside the airport terminal, and include,

but are not limited to: checking in passengers; verifying passenger, documentation; closing aircraft;

processing lost baggage; andaccepting incoming passengers,

        15.    Cargo and Mail Services< These services include.receivihg, transferring, scanning,

and tracking cargo and mail transported by aircraft

        16.    Ground handling is labor intensive, and there is a relatively high attrition rate in

ground-handing workforces, especially for outdoor Ramp Services.



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        17.     Because of that attrition rate, maintaining an adequate workforce is an integral and

essential function of a ground-handling vendor. To maintain that workforce, a ground-handling

vendor must (1) continuously recruit and create a pipeline of candidates to fill positions as they

open; (2) successfully onboard and train those candidates; and (3) work to retain its existing

employees.

        B.      Sun Country’s RFP for Ground Handling at MSP Airport.

        18.     In 2017, Sun Country’s ground-handling operations at MSP Airport were divided

between Sun Country itself and an outside vendor, Swissport International Ltd. (“Swissport”). Sun

Country staffed and managed all services except Ramp Services, which were staffed and managed

by Swissport.

        19.     In late 2017, Sun Country decided to investigate whether to consolidate its ground-

handling operations at MSP Airport with one vendor.

        20.     To find the best ground-handling vendor. Sun Country issued a Request for

Proposal (“RFP”) on December 6,2017, inviting vendors to submit a response. lathe RFP process,

Sun Country was assisted by aviation expert, Seabury Consulting, a subsidiary of Accenture.

       21.      The RFP’s stated goal was.“to find the most cost effective solution^) offering the

greatest value while meeting our performance and service level requirements.”

       22.      The RFP detailed Sun Country’s operations at MSP Airport, including Its projected

flight frequencies and existing facilities and ground support equipment (“GSE”).

       23.      The RFP listed the services that Sun Country’s new vendor must provide, including:

all ticket counter functions, all gate functions, all baggage service functions, wheelchair services,

bag room, aircraft loading and unloading, aircraft servicing, baggage transfers, aircraft cleaning,

mail handling, freight handling, and more. The RFP called for responding vendors to include a

“Staffing Plan”in their responses.



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        24.    The RFP made clear that the new vendor would be expected to take over Sun

Country’s ground-handling operations at MSP Airport by May 1,2018.

       25.     At least a dozen vendors, including Global, expressed interest in the RFP and signed

non-disclosure agreements in order to participate.

       C.      Defendants Fraudulently Induce Sun Country to Award Global the Ground-
               Handling Contract.

       26.     On December 28, 2017, Global submitted its response to the RFP. Sun Country

was already somewhat familiar with Global, as it was providing ground-handling services to Sun

Country at two Florida airports. However, the operations at those Florida airports are much

smaller, so Sun Country did not have experience with how Global would perform at a hub like

MSP Airport.
                                                                                                      i
       27.     In its RFP response, Global represented that it was able to perform all the services   l
                                                                                                      r

outlined in the RFP at MSP Airport. Global identified several qf its operations that, were similar
                                                                                                      !
in size and complexity to Sun Country’s operations at MSP Airport, and represented that it had the

expertise and experience to run those larger, more-complex Operations.

       28.     When Sun Country requested a staffing plan. Global supplemented its RFP

response on December 29 with a “transition plan for MSP” along with a staffing chart (together,

‘‘Transition Plan”). In the TransitionPIan, Global made specific representations about the number

of supervisors, managers, and employees it would provide for ramp, passenger, and cargo services

fpr each day of die week.. Global , also represented that its “labor solution for both passenger

services and ramp is wholly dedicated to your airline which will never change,” and promised to

“[mjaintain planned staff count and quality,” to “oyer hire by 10% to account for any early

attrition,” and to aim for an attrition “rate of 20%.” The Transition Plan also included specific

representations about Global’s “recruitment plan




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        29.    After a series of follow-up submissions and discussions, Sim Country narrowed the

field of vendors to six finalists, one of which was Global, and invited each finalist to an individual

meeting.

        30.    Sun Country’s meeting with Global took place on January 22, 2018. During that

meeting, Sun Countoy explained to Global its plans for the future, objectives for the RFP, and

expectations for a ground handler. Global assured Sun Country it had the ability to meet all those

expectations and perform all the work in the RFP,

       31.     Of the finalists, Sun Country initially viewed Global as the least likely to secure the

work because it was the smallest. However, Sun Country remained open-minded and invited

Global to another in-person meeting at its Eagan headquarters.

       32.     That in-person meeting with Global took place, on February 9, 2018. At the

February 9 meeting, Global was represented by its CEO, Mr. Borg, its COO, Jim Murphy, its

Senior Vice President, John Brown, and four other executives.            The Global team gave" a

presentation claiming that Global had the experience, personnel, and capabilities to perform

effectively all the ground-handling functions that Sun Country needed at MSP; Global made

specific representations about (1) the numbers of supervisors and managers it would provide (e.g •>:

six Ramp and Passenger Services managers); (2) the specific number of agents it would provide,

in the morning, afternoon, and evening for Ramp, Passenger, arid Cargo and Mail Services; (3) its.

“recruitment plan” and commitment to “[ni]ainfain planned' staff count &.quality”; and (4) its.

commitment to “over hire by 1,0% to account for any early attrition” and aim for an “attrition rate
of 30%.”

       33.     Throughout the February 9 presentation, Sun Country questioned Mr. Borg and his

team about Global’s capability to staff and perform the services. The Global team answered each




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question. Near the end of the meeting, Mr. Borg concluded by reiterating his complete confidence

that Global had the experience, personnel, and capabilities to perform all the services outlined in

the RFP.

        34.     After the meeting, and based on Mr. Borg’s and his team’s representations, Sun

Country viewed Global as the most likely finalist to secure the ground-handling work.

        35.     In the following days, Sun Country asked Global follow-up questions about its

staffing plans. On February 13, Global’s COO, Mr. Murphy, emailed Sun Country, explaining the

“credibility of our [staffing] methodology” and reassuring Sun Country that,‘‘I’m confident in our.

staffing.”
                                                                                                       i
        36.     On February 13 and 14, after additional communication between the parties, Global

submitted its final bid and staffing chart. In those materials. Global again represented that it had   |
                                                                                                       t
the capability to perform all the services specified in the RFP, and again made specific

representations about the number of supervisors, managers, and employees it would provide for

all those services.

        3 7.    Based on Global’s RFP response, its representations (through Mr. Borg and others)

that it was capable of performing all the work specified in the RFP at MSP Airport, its assurances

about staffing, and its assurances that it would maintain staff levels and keep attrition under

control, Sun Country awarded Global the MSP Airport ground-handling work on February 16,

2018,

        38.     Sun Country would not have awarded the work to Global, nor WOuid it have entered

into the Agreement that followed, if Global and Mr. Borg had not made those representations, .

        D.     The Ground-Handling Agreement,

        39.    On or about February 19, 2018, Sun Country and Global entered into a written

Standard Ground Handling Agreement (“SGHA”) with Annexes A and B1.0. In April 2018, tHe



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parties also entered into Annex B1.1. The SGHA and its Annexes A, B1.0, and B1.1 together form

the “Agreement”

        40.     Under the Agreement, Global agreed it “shall provide” all the ground-handling

services and duties that the parties specified in the Agreement for all Sun Country’s arriving and

departing flights at MSP Airport.

        41.     The Agreement specifically identified the Ramp Services that Global would

provide, including: loading and unloading aircraft; marshalling and parking aircraft; operating

baggage rooms; transferring baggage; servicing aircraft lavatories and water; cleaning aircraft

interiors; and de-icing aircraft,

        42.     The Agreement also specified the Passenger Services that Global would provide,                /
                                                                                                              i




including, in broad terms: all ticket counter functions, including ticketing and reservations; all gate

functions; all baggage service functions; wheelchair services; and a variety of pre- and post-flight

activities such as managing standby lists.

       43.     The Agreement also specified the Mail and Cargo Services that Global would

provide, including accepting, releasing, scanning, and transferring mail and cargo.

       44.     The Agreement made clear that Global alone was responsible for supervising and

managing all the Ramp, Passenger, and Mail and Cargo Services.

       45.     For “all” those specified services, Global agreed it would,“use best efforts to adhere

to industry-leading practices that drive maximum efficiency in cross-functional workforce
                                                                                                          2


utilization and except for the obligations (e.g. training, safety standards, etc.) expressly stated in
                                                                                                          1
                                                                                                          [
the [Agreement], will not undertake [Sun Country’s] prior staffing or management practices,               !
                                                                                                          i
particularly those which drove inefficiencies in its operational performance.”




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        46.      Global agreed it was “responsible] to provide the adequate level of knowledge and

training to its personnel to meet the quality standards of [Sun Country] at all times,” Global also

agreed if would “ensure that the authorization of specialized personnel performing services for

[Sun Country] is valid and current,” and agreed that, “[i] f at any time [Global] is unable to provide

authorized personnel as requested by [Sun Country], [Global] shall inform [Sun Country]

immediately.”1

        47.      With respect to ground service equipment (“GSE”), Global agreed “to maintain

[Sun Country’s] GSE in the same proper working condition as existed at the start of the

agreement,” and agreed it would bear the costs of “parts being replaced respiting for [sic] misuse

of the GSE by [Global].”

       48.       Global further agreed that “[i]n the provision of the services as a whole, due regard

shall be paid to safety, security, local and international regulations, applicable IATA and/or ICAO

and/or other governing rules, regulations and procedures.”

       49.       The term of the Agreement was three years, commencing April 24, 2018. Under

the Agreement, either party could terminate by giving 90 days prior notice to the other party. In

the event of termination, Global agreed “to sustain performance levels to the end date of the initial

or extended terni of this agreement, and is responsible for bearing all costs necessary to perform

to that date, including overtime, temporary duty, etc.”

       E.        Sun Country Supports Global During its Transition. r

       50.     To facilitate Global’s smooth transition into operation, Sun Country worked with

Global to take over the MSP Airport ground-handling operations in two phases. On or about April

24, 2018, Global began Ramp Services, and on or about May 1, Global began all other ground­

handling functions.




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        51.     Sun Country provided Global with significant assistance during this transition. For

example, Sun Country suggested that Global consider hiring Sun Country’s former ground­

handling employees, and repeatedly made those employees available to Global.

        52.    Sun Country also agreed, without consideration or contractual obligation, to train

new employees that Global recruited during the transition and beyond. In addition, Sun Country

participated in weekly Conference calls to discuss and plan for Global’s transition. During those

calls, Global emphasized its preparedness for the transition, and it never expressed any concern

over its ability to perform all the services specified in the Agreement.

        53.    Sun Country also checked in on Global’s progress with, recruiting and hiring. For

example, on April 10, in response to Sun Country’s inquiry about staffing, Global’s Senior VP,

John Brown, claimed Global had already hired over 120 ramp agents arid over 160 passenger and

gate agents, and promised it would “over” hire an additional 60 agents,

        54.    Unbeknownst to Sun Country, Global’s actual hiring was far below the staffing

numbers that Global claimed.

        F.     Global Hides Systemic Staffing Problems Through an Unsustainable Bonus
               Scheme..

        55.    Global’s ground-handling operations for the first, two to three weeks, .after the

transition concluded appeared to reflect adequate.staffing levels.

        56.    Only later did Sun Country discover that, during this period. Global merely created

the illusion of normal operations and staffing with an unsustainable bonus scheme.

        57.    In reality. Global had failed to recruit and onboard, enough staff for normal
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operations. To make up for that, Global paid each employee a cash bonus for each eight-hour shift
                                                                                                      f
worked.. That bonus represented up to a 200% increase to each employee’s total wage for an eight-     {

hour shift.




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        58.     At least temporarily, those large bonuses enticed most, if not all, Global’s small

staff to work nearly every day. But the bonus program was unsustainable and, by mid-May, Sun

Country began to notice that Global’s staff was dwindling.

        59.     Sun Country repeatedly asked Global about its staffing, and Global repeatedly

assured Sun Country that things were fine. In fact, they were not.

        G,      Global Breaches the Agreement.

        60.     By late May, Global had failed to achieve or maintain adequate staffing levels for

the Ramp, Passenger, and Cargo and Mail Services that it promised to provide under the

Agreement.

        61.     Sun Country immediately felt the consequences of Global’s failure. Without

enough agents providing Ramp Services, flight delays increased. Similarly, customers faced

longer waits because there were not enough agents providing Passenger Services at gates and ticket

counters. There was. also a spike in lost and delayed baggage entrusted to Global.

        62.     The lack of staffing was compounded by Global’s failure to enforce basic safety

measures. For example, Global failed to require use of wheel chocks to safely secure tugs, water

trucks, and other movable equipment Similarly, Global neglected to ensure its employees

consistently checked for foreign object debris (known as “FOD”) before and after flight activity.

        63.     In addition, Global failed to maintain Sun Country’s GSE in proper working

condition, as required by the Agreement. For example, Global permitted use of beltloaders with

loose or broken bumpers, which are needed to protect aircraft from damage.

        64.     On June 4, Sun Country formally notified Global of its failures to perform the

Agreement, and made clear that Global needed to take corrective action, by July 5 to ensure it met

its contractual obligations,




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       H.      Global’s Breaches of the Agreement Increase and Intensify in June.

       65.     Rather than take meaningful corrective action, Global’s performance further

deteriorated in June 2018 as it failed to perform various services required by the Agreement.

       66.     Ramp Services. Global chronically understaffed the ramp agent function. For

example, on June 14, Global should have staffed 26 ramp agents but scheduled just nine, two of

whom did not report for work. Thai left seven agents to perform the work of 26 people. Global

failed to inform Sim Country of this gross shortage, as required by the Agreement.

       67.     Passenger Services, Global continued to understaff gate, ticket counter, and

curbside check-in agents. For example, Global often had just one gate agent servicing multiple

flights at once, an arrangement that violates Transportation Security Administration (“TSA”)

protocols. Without the necessary staff, customer waits at ticket counters soared to over an hour

and a half, far greater than the more typical waiting time of 20 minutes.

       68.     Baggage-Related Services. Global failed to provide sufficient staff at every stage

of baggage handling—from loading and unloading bags to and from aircraft, to staffing the

baggage rooms, to handling , baggage-related complaints. As a result, Global lost and .damaged

bags at an alarming rate and failed to rectify the situation. For example, in June, one customer

reported being on the phone for two days trying to track down bags that Global had lost,

       69.     Cleaning Services. Global failed to provide entire categories of cleaning services.
                                                                                                •r



For example, Global promised to perform a deep clean on each aircraft every 45 days. Yet it never

performed a single deep clean. Nor did Global clean certain building facilities, as required by the

Agreement

        70.    Cargo and Mail Services: After Global assumed Cargo and Mail Services, it caused

Sim Country’s previous 96 percent'rate of timely delivering U.S. mail to decline to 40-60%. In




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response, the United States Postal Service (“USPS”) suspended its tenders to Sun Country, costing

Sun Country hundreds of thousands of dollars in lost revenue and penalties.

       71.      At the same time Global’s operations at MSP Airport were melting down, its senior-

level management was in turmoil. On information and belief, during this time, Mr. Borg fired

most of the company’s leadership, including its COO, its: Senior VP of Operations, and its Manager

of Human Resources.

       72.      Making matters worse, Mr; Borg refused to respond to many of Sun Country’s

concerned calls and emails about Global’s worsening performance.

       73.      Finally, Sun Country convinced Mr. Borg to meet with its operations team in
                                                                                                          i
Minnesota on June. 19 to 20 to discuss solutions to Global’s failures to perform the Agreement.
                                                                                                          !
During this June 19-20 meeting, Mr. Borg refused to accept blame or work toward solutions.

Instead, he claimed that the “Minnesota work ethic” (which he used as a pejorative term) was the

main problem.

       74.      Mr. Borg also admitted during the June 19-20 meeting that he had engaged in “bad

faith negotiation” during the RFP process. He attempted to deflect blame by contending that Sun:

Country had also negotiated in bad faith. This was simply false; Sun Country acted.'in good faith

throughout this process.

       75..     Mr. Borg further claimed, the ground-handling operations at MSP Airport were

straightforward, and that he would have operations back on track in short order,

       76.      On information and belief, Mr. Borg never returned to Minnesota to fix Global’s

spiraling problems, despite the fact that MSP Airport was Global’s largest U.S. operation and

despite the fact that he had terminated most of Global’s senior management.


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      . 77.     Sun Country did, however, manage to persuade Mr. Borg to hire a ground-handling

consultant to assess Global’s worsening staff issues.

        I.      Global’s Systemic Staffing Problems Are Revealed.

        78.     That consultant discovered four systemic problems in Global’s staffing and

management operations.

        79.    First, while Global should have had at least four employees dedicated to recruiting,

onboarding, and payroll, it had one such employee.

        80.     Second, Global had no infrastructure for recruiting. The consultant discovered that

450 people had responded to Global’s online job posting, and all 450 responses were untouched.

There was no system to review the responses. Nor was there a system to track turnover so that

Global would know what positions needed filling.

        81.    Third, Global failed to onboard the few employees it did manage to recruit. In any

airport, a critical part of the onboarding process is supplying new employees with airport

identification badges to work in secure areas. As a short cut, Global personnel would sign blank

badge applications, only later adding the employee’s name. This practice: criminally violated

Section 3.11 of Metropolitan Airport Commission (“MAC”) Ordinance No. 117, which provides:

“An Authorized Signer shall not sign a badge application form without verifying the identity and

eligibility of the applicant to the'best of his or her knowledge.”
                                                                                               ;
       82.     Global’s Manager of Human Resources, Lisa Simons, was criminally charged for

violating Section 3.1 l, was convicted of a misdemeanor, and is currently on probation.

       .83.;   In addition to issuing illegal badges, Global staff also improperly escorted un-

badged, newly-hired employees on the ramp, failed TSA. inspections, .and left gates open and

unsecured, among ptherinffactiohs,




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        84,     Fourth, Global failed to operate a functioning system for scheduling and payroll.

For example, its scheduling system allowed for no employees to be scheduled on weekends, and,

unsurprisingly, that happened regularly. In. addition, because Global failed to track employee

turnover, it would schedule employees who had already left the company.

         85.    The net result of these systemic staffing and management problems was that Global

assembled and maintained a workforce that was just a fraction of what was required to perform its

obligations under the Agreement.

        J.      Global Fails to Cure and Instead Terminates the Agreement.

        86.     In or around the week of June 25,2018, Sun Country initiated another call, with Mr.

Borg to.address Global’s spiraling problems. On this Call, Mr; Borg once again pointed the finger

at the “Minnesota work ethic,” and added that Minnesota workers were “drug users.”                        t




        87.     Within days of that call, on June 29, Mr. Borg sent Sun Country a letter, purporting

to provide notice of termination of the Agreement to become effective on September 28, 2018.

        88.     Sun Country promptly responded two days later, noting that Global “continues to

maintain unacceptably low staffing levels at [MSP] in violation of our [Agreement]” and

“demand[ing] immediate correction.” Sun Country also made clear that Global’s “recent notice

of termination ... does not abate GAS’S obligation to maintain adequate staffing levels while the

term of the agreement continues.”

        K.     Sun Country Is Forced to Do Global1 s Work and Then Hire a Replacement
               Vendor.

        89.    After it sent notice of termination, Global all but abdicated its responsibilities under

the Agreement. On July 1, for example, Global staffed just eight ramp agents, when three times

that number were needed, and ho Global employees at all reported for duty in the baggage room.

Staffing was critically low for all of Global’s services.




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        90.    In addition to understaffing, Global abdicated its supervisory responsibilities,

which led to violations of safety protocols and damage to equipment. For example, in July, Sun

Country had to pay for damage caused when Global employees ripped a ground power unit

(“GPU”) cable from its mooring by retracting the jet bridge while the cable was still connected to

a parked aircraft    Similarly, Sun Country had to pay several thousand dollars after Global

employees damaged an air-start unit bn loan from another airline. In addition. Global damaged a

cargo tug so severely that its frame cracked.

       91.     Global’s breaches and incompetence harmed Sun Country’s brand and reputation

with its customers. Global increased customer wait time at ticket counters and gates, further

inconvenienced customers by causing flight delays, .and lost and damaged Customers’ bags.

Unsurprisingly, Global’s actions triggered a wave of customer complaints. From May to July

2018, there was a 600 percent surge in customer complaints filed with the Better Business Bureau

(“BBB”) and U.S. Department of Transportation (“DOT”)—more than were filed during the same

three-month period in 2016 and 2017 combined.

       92.     By .late June, Sun Country could no longer afford 1° wait for Global to correct its

chronic deficiencies. 'With Sun Country’s brand and reputation at risk, the company was forced to

deploy its own headquarters staff—including executives—to handle bags, check in passengers,

and do other work that Global had been hired and paid to do.:

       93.     Sun Country’s own CEO pitched in to help clean aircraft.

       94.     Sun Country also began hiring the ground-handling staff that Global should have

hired. Within 18 hours of posting a single ground-handling job, Sun Country was able to attract

more than 80 applicants and schedule seven interviews. In total, Sun Country was forced to hire

approximately 100 ground handlers to make up for Global’s deficiencies.




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       95.     In July, Sun Country initiated a second RFP for the MSP ground-handling

operations in order to replace Global. Sun Country’s bargaining positon in this second RFP was

compromised by the fact that Global had left Sim Country in dire need of immediate ground­

handling help, a fact that was publicly known. Ultimately, Sun Country was forced to pay-

substantially more for the ground-handling services than if Global had performed under the three-

year Agreement.

       96,    The Agreement terminated on or abOut September 27, 2018, at which time Global

was performing only a subset of the services required by the Agreement.
                                                                                                    I
                                           COUNT I

                                (Breach of Contract - Global)

       97.    Sun Country realleges the foregoing paragraphs as if fully set forth herein.

       98.    The Agreement is a valid contract between Global and Sun Country.

       99.    Sun Country performed all its obligation under the Agreement.

       100.   Global materially breached the Agreement in multiple ways, including by:

              a) Failing to perform the required Ramp Services;

              bj Failing to perform the required Passenger Services;

              c) Failing to perform the required Mail and Cargo Services;

              d) Failing to maintain GSE in proper working condition;

              e) Failing to provide staff sufficient to perform all the above services;

              f) Failing to notify Sun Country of its staffing deficiencies;

              g) Failing to supervise the above services;

              h) Tailing to properly maintain Sun Country ?s GSE;




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                i) Failing to meet Sun Country’s quality standards in performing or failing to

                   perform the above services; and

               j) Failing to abide by governing rules, regulations, and procedures in performing

                   or failing to perform the above services’.

        101.   Global’s material breaches of the Agreement have caused Sun Country substantial

monetary damages, including, but not limited to: (1) payments to customers for lost or damaged

bags, delayed flights, and other disrupted services; (2) payments for equipment Global destroyed

or damaged; (3) payments for fees levied due to Global’s failure to comply with applicable rules,

regulations, and procedures; (4) lost profits and other losses from disruption to Sun Country’s

cargo and mail business; (5) lost benefits that Sun Country would have received had Global

performed as promised; (6) costs incurred to replace the work that Global failed to perform; and

(7) lost profits from harm to Sun Country’s reputation and brand.

        102.   Sun Country has suffered damages from Global’s material breaches of the

Agreement in an amount greater than $50,000,

                                            COUNT II

                               (Fraud - Global and Carmel Borg)

        103.   Sun Country realleges the foregoing paragraphs as if fully set forth herein.

        104.   Global and Mr. Borg fraudulently induced Sun Country to enter into the Agreement

by making numerous misrepresentations of material fact during the RFP process between:

•December 6,2017, and February 16,2018, including, in particular, Mr. Borg’s misrepresentations

during Global’s meeting with Sun Country on February 9,2018.                                        if
                                                                                                    {
       .105.   GlobaFs and Mr. Borg’s misrepresentations to Sun County included, among other

things, Global’s capability and willingness to:




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                a) Perform the Ramp Services specified in the RFP;

                b) Perform the Passenger Services specified in the RFP;

                c) Perform the Cargo and Mail Services specified in the RFP;

                d) Staff the services specified in the RFP at the levels represented by Mr. Borg and

                   Global;

               e) Recruit staff sufficient to perform all the services specified in the RFP;
                                                       .■   .                  -1



                f) Retain staff sufficient to perform all the services specified in the RFP; and

               g) Manage and supervise all the services specified in the RFP.

        106.   At the time they made these representations, Defendants knew, or should have

known, they were false. Indeed, Mr. Borg admitted to Sun Country during the June i9-2Q, 2018           ;

meeting in Minnesota that he and Global had engaged in “bad faith negotiations.”                       1
                                                                                                       !
        107.   Defendants made these representations with the expectation and intent that Sim          !

Country would rely upon them in deciding whether or not to retain Global to perform the MSP

ground-handling operations. These, misrepresentations were separate and distinct from the

representations in the Agreement.

        108.   In deciding to hire Global to perform the MSP Airport ground handling, Sun

Country reasonably relied to its detriment on Defendants’ representations, including the

misrepresentations identified herein.;

       .109.   As a result of Defendants’ fraudulent inducement, Sun Country has suffered

damages in excess of $50,000.

                                 DEMAND FOR JURY TRIAL

       Sun Country demands a trial by jury on all Claims so triable.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Sun Country demands judgment against Defendants as follows:

       A.     For all damages allowed by law, including consequential damages, resulting from

              Defendants’ conduct;

       B.     FOr Sun Country’s costs, expenses, and reasonable attorneys’ fees incurred in this

              action, as may be permitted by law;

       C.     Pre- and post-judgment interest at the highest lawful rate; and

       D.     Such other and further relief, both legal and equitable, that the Court deems just   |
              and proper.,

Dated: March 1,2019                                DORSEY &
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                                                   By i                         2.
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                                      Acknowledgment

       The,undersigned hereby acknowledges that sanctions may be; imposed under Minn- Stat
§ 549.211.

                                                    DORSEY & WHITNEY LLP




                                                          Eric.K^Sherman



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